Case 2:17-cv-00671-JRG Document 109 Filed 08/28/18 Page 1 of 6 PageID #: 3312



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 TESSERA ADVANCED
 TECHNOLOGIES, INC.,

                 Plaintiff,                        Civil Action No. 2:17-cv-671-JRG
     vs.                                           JURY TRIAL DEMANDED
 SAMSUNG ELECTRONICS CO., LTD.
 and SAMSUNG ELECTRONICS
 AMERICA, INC.,

                 Defendants.


              JOINT STIPULATION REGARDING INVENTOR DECLARATION


       Plaintiff Tessera Advanced Technologies, Inc. (“Tessera”) and Defendants Samsung

Electronics Co., Ltd. and Samsung Electronics America, Inc. (collectively, “Samsung”) stipulate

as follows:

       WHEREAS, Nozomi Shimoishizaka, one of the named inventors of the patents-in-suit,

executed a Declaration attached as Exhibit 1 and produced at SAMS232-0014040 - SAMS232-

0014040 (“the Shimoishizaka Declaration”);

       WHEREAS, Nozomi Shimoishizaka resides in Japan;

       WHEREAS, Nozomi Shimoishizaka has agreed to be deposed on September 2, 2018, in

Seoul, South Korea;

       WHEREAS, the deposition will be taken off calendar at the request of Tessera in exchange

for the Stipulation herein;

       IT IS HEREBY STIPULATED BY AND BETWEEN THE PARTIES, THROUGH

THEIR RESPECTIVE COUNSEL AS FOLLOWS:



                                              1
Case 2:17-cv-00671-JRG Document 109 Filed 08/28/18 Page 2 of 6 PageID #: 3313



        1.        Tessera and Samsung hereby waive authenticity, admissibility, hearsay, truth, and

accuracy objections regarding the admissibility of the Shimoishizaka Declaration.

        2.        By this Stipulation, Tessera and Samsung jointly move for the admission of the

Shimoishizaka Declaration into evidence, and Tessera and Samsung agree and stipulate that the

Shimoishizaka Declaration may be used by any party for any purposes.

        3.        By this Stipulation, Tessera and Samsung agree that the Shimoishizaka Declaration

is true and accurate.

        4.        By this Stipulation, Tessera and Samsung agree that the Shimoishizaka Declaration

is authentic.

        5.        By this Stipulation, Tessera and Samsung agree that the Shimoishizaka Declaration

is not hearsay.

        IT IS SO STIPULATED.




                                                  2
Case 2:17-cv-00671-JRG Document 109 Filed 08/28/18 Page 3 of 6 PageID #: 3314



 DATED: August 28, 2018                   Respectfully submitted,
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                                          Counsel for Defendants Samsung Electronics
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                                          Inc.




                                      3
Case 2:17-cv-00671-JRG Document 109 Filed 08/28/18 Page 4 of 6 PageID #: 3315



 DATED: August 28, 2018                   Respectfully submitted,
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                                      4
Case 2:17-cv-00671-JRG Document 109 Filed 08/28/18 Page 5 of 6 PageID #: 3316



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                                      5
Case 2:17-cv-00671-JRG Document 109 Filed 08/28/18 Page 6 of 6 PageID #: 3317



                               CERTIFICATE OF SERVICE



         The undersigned hereby certifies that all counsel of record who are deemed to have

  consented to electronic service are being served with a copy of this document via the Court’s

  CM/ECF system per Local Rule CV-5(a)(3) on August 28, 2018.


                                 /s/ Melissa R. Smith




                                                6
